        USDC IN/ND case 2:16-cv-00114-RL-JEM document 148 filed 12/07/18 page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     United States District Court
                                                            for the
                                               Northern District of Indiana


                    Tamara Rachel Scott                        )
                             Plaintiff                         )
                                V.                             )      Case No.    2:16-cv-00114-RL-JEM
                     John Buncich, et al.                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Cross-Defendant. Correctional Health Indiana. Inc.


Date:          12/07/2018                                                              /s/ Heather T. Gilbert
                                                                                         Attorney’s signature


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